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 1     MARTIN & BONTRAGER, APC
       G. Thomas Martin, III (SBN 218456)
 2     Nicholas J. Bontrager (SBN 252114)
 3     6464 W. Sunset Blvd., Ste. 960
       Los Angeles, CA 90028
 4
       T: (323) 940-1700
 5     F: (323) 238-8095
 6     Tom@mblawapc.com
       Nick@mblawapc.com
 7
 8     Attorneys for Plaintiff
       NEVIN MILLAN
 9
10
                             UNITED STATES DISTRICT COURT
11
                           CENTRAL DISTRICT OF CALIFORNIA
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       NEVIN MILLAN,                              Case No.: 2:15-cv-05143-ODW-MRW
14
                    Plaintiff,                    NOTICE OF SETTLEMENT OF
15
             vs.                                  ENTIRE ACTION
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       COAST PROFESSIONAL, INC.,
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                    Defendant(s).
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22           NOW COMES Plaintiff, NEVIN MILLAN, by and through the undersigned
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       counsel, and hereby notifies this Honorable Court that the parties have reached an
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25
       agreement to settle the instant matter in its entirety. The parties, through counsel,

26     are working cooperatively to consummate the settlement as expeditiously as
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                                                                       NOTICE OF SETTLEMENT
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 1     possible and Plaintiff anticipates filing a Fed. R. Civ. P. 41 voluntary dismissal,
 2     with prejudice, within sixty (60) days.
 3
 4
 5
 6                                               RESPECTFULLY SUBMITTED,
 7     Dated: August 4, 2015                     MARTIN & BONTRAGER, APC
 8
 9                                               By: /s/ Nicholas J. Bontrager
10                                                       Nicholas J. Bontrager
                                                         Attorney for Plaintiff
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